                             March 12, 2025


VIA ECF
Lyle W. Cayce
Clerk of Court
United States Court of Appeals, Fifth Circuit
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, Louisiana 70130-3408

     Re: In re: Gary Westcott, No. 25-30088

Dear Mr. Cayce:

     I write with two updates for the panel. First, on February 27, the
panel held this case in abeyance for seven days, “to give the district court
the opportunity to consider whether to vacate the February 21, 2025
order” in light of Plaintiff Hoffman’s new suit. ECF 28. That deadline
expired on March 6, and the district court has taken no action.

      Second, on March 11, the district court (in Plaintiff Hoffman’s new
suit) preliminarily enjoined Plaintiff Hoffman’s March 18 execution. The
State filed an emergency motion to stay and vacate that injunction this
morning. See Hoffman v. Westcott, No. 25-70006 (5th Cir.).

                                         Respectfully submitted,

                                         /s/J. Benjamin Aguiñaga
                                         J. Benjamin Aguiñaga
                                            Solicitor General of Louisiana

                                         Counsel for Petitioners

     cc:   All Counsel (via ECF)

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